Case 3:92-cr-00365-D         Document 91        Filed 08/10/05      Page 1 of 4      PageID 782



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


UNITED STATES OF AMERICA,                        )
                                                 )
v.                                               )           3:92-CR-365-D(29)
                                                 )
BRYAN ANTHONY DAVIS, #40427-053,                 )
             Defendant.                          )



                 FINDINGS, CONCLUSIONS AND RECOMMENDATION
                    OF THE UNITED STATES MAGISTRATE JUDGE

       Pursuant to the provisions of 28 U.S.C. § 636(b), and an order of the District Court filed

on July 15, 2005, Defendant Bryan Anthony Davis’s motion for modification of sentence

pursuant to 18 U.S.C. § 3582(c)(2) has been referred to the United States Magistrate Judge. The

findings, conclusions and recommendation of the Magistrate Judge are as follows:

FINDINGS AND CONCLUSIONS:

       Statement of the Case: Defendant was indicted for conspiracy to possess with intent to

distribute five kilograms or more of cocaine and fifty grams or more of cocaine base, in violation

of 21 U.S.C. § 846, and conspiracy to structure financial transactions in violation of 18 U.S.C. §

371. A jury convicted Defendant on both counts, and the trial court sentenced him to life

imprisonment on count one, sixty months imprisonment on count two, and a five-year term of

supervised release. The Fifth Circuit affirmed the conviction and sentence on direct appeal.

United States v. Davis, No. 94-10216 (5th Cir. May 24, 1995).

       Defendant filed one prior motion to vacate, set aside or correct the sentence pursuant to

28 U.S.C. § 2255 on April 22, 1997. See Davis v. United States, No. 3:97cv0901-D (N.D. Tex.,

Dallas Div.). On September 14, 1999, the District Court adopted the findings, conclusions and
Case 3:92-cr-00365-D         Document 91        Filed 08/10/05      Page 2 of 4      PageID 783



recommendation of the magistrate judge, filed on June 29, 1999, and denied the § 2255 motion

on the merits. Id. (Attachment I). Defendant appealed. On March 29, 2000, the Fifth Circuit

Court of Appeals denied a request for a certificate of appealability. See No. 99-11104.

       On July 14, 2005, Defendant filed this motion for modification of sentence pursuant to 18

U.S.C. § 3582(c)(2). The motion relies on the recent decision of the United States Supreme

Court in United States v. Booker, 543 U.S. ___, 125 S.Ct. 738, 160 L.Ed.2d 621 (2005). The

government has not been ordered to respond to Defendant’s motion.

       Findings and Conclusions: 18 U.S.C. § 3582(c)(2) permits a district court to modify a

prison term when it is based on a sentencing range that has been subsequently lowered by an

amendment to the U.S. Sentencing Guidelines. “By its plain language, § 3582(c)(2) is not

implicated by a decision of the Supreme Court that is unrelated to an actual amendment of the

guidelines.” United States v. Privette, 129 Fed. Appx. 897, (5th Cir. Apr. 29, 2005)

(unpublished per curiam). Therefore, Defendant’s Booker arguments are not cognizable in the

context of a § 3582(c)(2) motion. See id. (holding that defendant’s Booker arguments were not

cognizable in a § 3582 motion); see also United States v. Morrison, 131 Fed. Appx. 46 (5th Cir.

Apr. 20, 2005) (unpublished per curiam) (same); United States v. Evans, 125 Fed. Appx. 569

(5th Cir. Apr. 5, 2005) (unpublished per curiam) (same).

       Although the pro se pleadings of a prisoner are to be liberally construed, the magistrate

judge declines to construe the motion as one brought pursuant to 28 U.S.C. § 2255. As noted

above, Defendant previously filed a § 2255 motion collaterally attacking his conviction in this

case. An evidentiary hearing was held in that instance as well. Therefore, his present motion

should be considered in the precise context in which he has filed it – i.e. a motion brought


                                                 2
Case 3:92-cr-00365-D          Document 91        Filed 08/10/05      Page 3 of 4      PageID 784



pursuant to 18 U.S.C. § 3582(c)(2).1 However, in the event that the District Court determines, in

the alternative, that Defendant’s motion should be construed as a § 2255 motion, the same should

be dismissed for want of jurisdiction, but without prejudice to his right to seek from the Fifth

Circuit leave to file a successive § 2255 motion.2

       The AEDPA substantially changed the procedures to be applied and the jurisdiction of

district courts when confronted with successive § 2255 motions. The decision as to whether a

prisoner should be permitted to file a successive petition is now reserved to a court of appeals, in

this case the Fifth Circuit Court of Appeals. Since it is clear that Movant has already sought

relief under § 2255 which was denied on the merits, this court is without jurisdiction to consider

his motion as a § 2255 motion, unless leave to file the same is granted by the Fifth Circuit. See

Hooker v. Sivley, 187 F.3d 680, 682 (5th Cir. 1999); United States v. Key, 205 F.3d 773, 774

(5th Cir. 2000).




       1
                In United States v. Towe, 26 F.3d 614, 616-17 (5th Cir. 1994), the Fifth Circuit
made clear that the relief available under § 3582 is separate and distinct from the relief available
to a prisoner in a § 2255 motion.
       2
               In Towe, for example, the district court refused to permit the movant to amend his
pleadings to assert claims cognizable under § 3582(e)(2). The court then proceeded to rule on
the § 2255 motion and denied one ground on the basis that the claim had been raised in a prior §
2255 motion and denied on the merits. This disposition took place prior to the passage of the
Antiterrorism and Effective Death Penalty Act of 1996 (the AEDPA).

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Case 3:92-cr-00365-D          Document 91        Filed 08/10/05       Page 4 of 4     PageID 785



RECOMMENDATION

       For the foregoing reasons, it is recommended that the District Court deny Defendant

Brian Anthony Davis’s motion for modification of sentence pursuant to 18 U.S.C. § 3582(c)(2).

       A copy of this recommendation will be mailed to Defendant Brian Anthony Davis,

#40427-053, FCI McKean, P.O. Box 8000, Bradford, PA 16701.

       Signed this 10th day of August, 2005.




                                                      WM. F. SANDERSON, JR.
                                                      UNITED STATES MAGISTRATE JUDGE




                                              NOTICE

        In the event that you wish to object to this recommendation, you are hereby notified that
you must file your written objections within ten days after being served with a copy of this
recommendation. Pursuant to Douglass v. United Servs. Auto Ass'n, 79 F.3d 1415 (5th Cir.
1996) (en banc), a party's failure to file written objections to these proposed findings of fact and
conclusions of law within such ten-day period may bar a de novo determination by the district
judge of any finding of fact or conclusion of law and shall bar such party, except upon grounds
of plain error, from attacking on appeal the unobjected to proposed findings of fact and
conclusions of law accepted by the district court.




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